 8:05-cr-00217-LSC-TDT            Doc # 23   Filed: 06/21/05   Page 1 of 1 - Page ID # 35




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )            8:05CR217
                     Plaintiff,                   )
                                                  )
       vs.                                        )
                                                  )
SHAMALE LANETTA KENNER,                           )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of defendant Shamale Lanetta Kenner
(Kenner) to reveal the identity of a confidential informant (Filing No. 20). The government
has filed a response representing that the information sought in Kenner’s motion has now
been supplied to Kenner (Filing No. 22). Accordingly, Kenner’s motion to reveal (Filing No.
20) is denied as moot.


       IT IS SO ORDERED.


       DATED this 21st day of June, 2005.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
